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not reveal           until he was 50 years old, and only in the context of seeking treatment from a

treating psychologist. PSR at ¶49. At that time, prior to the instant offense, Mr. Meredith was

diagnosed with PTSD

         Second, Mr. Meredith’s younger sister Emily died of a brain tumor when Mr. Meredith

was in his early 20s. PSR at ¶53. Mr. Meredith and Emily, the “star” of the family, were very

close. Per Wendy Meredith, Emily’s death changed the course of Mr. Meredith’s life and his

sense of identity – indeed, he has often told others that he should have been the one to die. PSR at

¶53. In the wake of Emily’s death, Mr. Meredith struggled to find a sense of purpose and

significance, and sought counseling for his grief which he continued with on and off for several

years.

         Following Emily’s death, and throughout his 20s and into his early 30s, Mr. Meredith

pinballed between different jobs, working for his family’s business, a ski resort, a brokerage firm

and a real estate firm. PSR at ¶¶75-84. In 2001, he married Elizabeth Meredith (Taft), a union

which initially provided much needed purpose and stability for Mr. Meredith. They had two boys,

Taft and Teddy. PSR at ¶51. Photos from the early years of the marriage attest to the beauty and

potential of this young, growing family. Exh. 1, Sample photographs.

         From 2000 to 2012, Mr. Meredith owned and operated Car Nuts Auto Spa in Smyrna,

Georgia, where he supervised some 30 employees before the business went into bankruptcy. In

2013, he owned and operated another car business, Car Nutz Carwash in Ackworth, Georgia,

which he later sold in 2019. PSR at ¶¶77-78.

         However, throughout these years, Mr. Meredith remained plagued with deepening, largely

untreated mental health issues. As noted above, initially he had sought counseling in connection

with his sister’s death.

          PSR at ¶64. But by his mid 40s, Mr. Meredith’s mental health had worsened and his life

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began to fall apart. He became deeply depressed, no doubt from his undisclosed childhood

trauma, his sense of guilt and loss of purpose from his sister’s death and his own sense that he had

not “measured up” as compared to his high school friends with highly successful professional

careers. Mr. Meredith confided repeatedly to his mother that he felt he had no purpose in his life,

despite his personal and business successes. PSR at ¶53. Looking back, his mother describes this

time as her son’s “heartbreaking decline.” PSR at ¶53.




       By 2019, Mr. Meredith’s worsening mental health had led to divorce. PSR at ¶50. He and

Ms. Taft Meredith share joint custody of their sons; both boys reside with Ms. Taft Meredith and

are thriving as good students and committed athletes. PSR at ¶50. Mr. Meredith has remained a

dedicated father, often paying substantially more in child support each month than required by his

divorce agreement. PSR at 26. And despite their divorce, Ms. Taft Meredith continues to describe

Mr. Meredith as “the kindest person” and “an excellent father.” PSR at ¶52, but explains that the

couple’s marriage simply could not survive what she describes as an “eight-year decline” in Mr.

Meredith’s mental health and his burgeoning “extremism with politics and guns.” Per Ms. Taft

Meredith, Mr. Meredith was a “living dichotomy” who was in “the prime place to be swept up

into something” like the instant offense. PSR at ¶52.

       Ms. Taft Meredith’s observations are squarely on point and echoed by Mr. Meredith’s

subsequent mental health history and diagnoses. In October 2019, Mr. Meredith began seeing

Galen Cole, Ph.D., a well-regarded psychologist in the Atlanta area. It is to Dr. Cole that Mr.

Meredith first revealed                                                   Dr. Cole diagnosed Mr.

Meredith with                                                                    Exh. 2, Report by

S. Xenakis, MD at 5. According to notes from Dr. Cole obtained by Probation, Mr. Meredith

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sought counseling

and was                 and needed                in order to                            PSR at ¶67.

Dr. Cole indicated that Mr. Meredith is                          who is

               and is                                  PSR at ¶67. Dr. Cole’s notes further indicate

that Mr. Meredith                                               which has

                                                   Dr. Cole’s later notes reflect that Mr. Meredith

needed to                                        and focus more on

               PSR at ¶67. Mr. Meredith ended his counseling with Dr. Cole in February 2020. PSR

at ¶67.

          In September 2020, Mr. Meredith relocated from Georgia to Hayesville, North Carolina.

PSR at ¶55. It was during this period – in his state of loss, confusion and depression – that Mr.

Meredith became more deeply immersed in QAnon and, based on his personal experience, found

resonance in its propagandized themes of                          He became increasingly vocal and

hostile in his political views, alienating his family and life-long friends. Ironically, it was in the

extreme and distorted conspiracy theories of QAnon and its angry call to action that Mr. Meredith

felt he had found the illusory sense of purpose and meaning that had eluded him.

           Around this same time, Mr. Meredith suffered a concussion from a serious motorcycle

accident – he was thrown some 450 feet off the road and blacked out for at least 15 minutes. This

was the most recent in a series of significant concussions Mr. Meredith had suffered. Dr. Stephen

Xenakis, the expert witness retained by the defense, addresses in his report how this series of

concussions may have impaired Mr. Meredith’s judgment in relation to the instant offense. Exh.

2, Report by S. Xenakis, MD at 6.

          At the time of his arrest in January 2021, Mr. Meredith was trying to regain his footing by

starting a motorcycle training and touring company on his property. PSR at ¶60. He had begun

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bulldozing portions of the property and was developing a business plan for the venture. PSR at

¶60.

       While incarcerated, Mr. Meredith has been diagnosed with depression, anxiety, and ADHD

and is taking prescribed medications. PSR at ¶69.

       It is in this context that the instant offense needs to be considered.

        II.     INSTANT OFFENSE

       In late December 2020, Mr. Meredith left for Colorado in a pickup truck and trailer to join

his ex-wife and two boys for the holidays. The plan was to go skiiing but weather reports gave

him concern that there might not be enough snow. So he brought with him weapons that he had

used before with his sons for target practice – weapons he had acquired legally and had a permit to

carry. He also brought several ATVs that he had purchased for the motorcycle business he was

starting. Mr. Meredith thought he could do target practice with his sons and play around on the

ATVs if they could not ski.

       Mr. Meredith headed from Colorado to the District to attend the pro-Trump rally that was

scheduled for January 6, 2021. PSR at ¶11. His plan was to stay in the District for the rally and

then head on home to North Carolina. Mr. Meredith had attended a pro-Trump rally in the Fall of

2020 in the District without incident. As he was driving to the District, he had car trouble and was

not able to make the rally outside the U.S. Capitol. He was, however, listening intently to reports

about the events that were unfolding at the U.S. Capitol on January 6, 2021. Mr. Meredith arrived

late to the District on January 6, 2021 and checked in to a hotel. PSR at ¶11.

       The next day, January 7, 2021, Mr. Meredith was driving to mail a package when he had an

altercation with a driver blocking access to the FedEx office. Mr. Meredith was later charged with

Simple Assault in relation to this incident. PSR at ¶43.          Per Mr. Meredith, the complaining

witness was the aggressor in the interaction, spurred on by Mr. Meredith’s “MAGA” hat, and Mr.

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Meredith was acting to defend himself. Mr. Meredith was fully prepared to defend his actions, had

the matter proceeded to trial.

       Later that day, while at his hotel, Mr. Meredith sent a text message in interstate commerce

to his uncle who was then in Georgia. The text message stated that he was, "[t]hinking about heading

over to Pelosi C[**]T's speech and putting a bullet in her noggin on Live TV [purple devil

emoji]." PSR at ¶11. Mr. Meredith’s uncle contacted Mr. Meredith's mother, who then contacted

the FBI. PSR at ¶12. As Mrs. Meredith is expected to explain at the sentencing hearing, she was

distraught from seeing the events that had unfolded at the US Capitol; had been estranged from

her son and alarmed by his extremist political postings on social media; was aware he had been

suffering from mental health issues; and was concerned that he was heading into a maelstrom

where further violence might erupt. Her concern was not that Mr. Meredith was capable of, or

intent on, actually carrying out any kind of threat on Speaker Pelosi, but rather that he might find

himself in the midst of an unpredictable, chaotic situation where he could be thrusted into violent

interactions.

       At 7:24 pm that evening, Mr. Meredith texted Ms. Taft Meredith that he was planning to

drive home the next day. Exh. 3, Text Message Exchanges from C. Meredith, Jr. Shortly

thereafter, Mr. Meredith was watching TV when he heard a knock at his door – the FBI. Mr.

Meredith was fully cooperative with the FBI agents, acknowledged that he had weapons which

were secured offsite in his trailer and gave consent for them to search the trailer. The FBI agents

searched the trailer and found a handgun and IWI Tavor X95 rifle, along with a large amount of

ammunition and 10 large-capacity ammunition feeding devices. The FBI agents also examined

Mr. Meredith’s cellular phone and found numerous text message exchanges between Mr.

Meredith and friends and family during the period January 4-6, 2021, as detailed in the PSR. PSR

at ¶¶14-18.

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       There is no evidence that Mr. Meredith took any steps while in the District to follow up on

his threat to Speaker Pelosi – no efforts to, for example, determine her whereabouts or schedule,

no inquiries to her office, no surveilling of her movements, no removal of the weapons from their

secure location in the trailer – as would be typical for any person intent on carrying out such a

threat. See Exh. 2, Report by S. Xenakis, MD at 10. Indeed, he had texted his former wife that he

was planning to head home the next day, yet further indication that he had no intent whatsoever of

following through on his threatening language. Mr. Meredith was taken into custody by the FBI

agents that evening.

        III.    INDICTMENT & PLEA

       On April 2, 2021, a federal grand jury in the District of Columbia returned a four-count

Superseding Indictment charging Mr. Meredith with Interstate Communication of Threats, in

violation of 18 USC § 875(c) (Count One), Possession of Unregistered Firearm, in violation of 7 DC

Code § 2502.01(a) (Count Two), Possession of Unregistered Ammunition, in violation of 7 DC Code

§ 2506.01(a)(3) (Count Three) and Possession of Large Capacity Ammunition Feeding Device, in

violation of 7 DC Code § 2506.01(b) (Count Four).

        On September 10, 2021, Mr. Meredith pled guilty to Interstate Communication of Threats

in violation of 18 USC § 875(c) pursuant to a written Rule 11(c)(1)(B) plea agreement. During the

plea colloquy, he acknowledged that a conviction for a violation of 18 USC § 875(c) carries a

maximum sentence of five years imprisonment; a maximum fine of $250,000; a term of supervised

release of not more than three years; an obligation to pay any applicable interest or penalties on

fines and restitution not timely made; and a $100 special assessment. The Government agreed to

request that the Court dismiss the remaining counts of the Indictment and the Information in the

Simple Assault case, DC Superior Court Case No. 2021 CMD 0695, at the time of sentencing.

        Since his arrest, Mr. Meredith has endured an arduous confinement at the Correctional

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 Treatment Facility in the District (“CTF”), made all the worse by inflammatory

 mischaracterizations that have disgraced his name and destroyed any possibility of a professional

 career commensurate with his education and business accomplishments.

        The sentencing hearing in this matter is set for December 14, 2021. As of the time of

 sentencing, Mr. Meredith will have been imprisoned for 11 months, 7 days.

        IV.     PLEA AGREEMENT

        The Government and defense painstakingly negotiated the Plea Agreement in this matter

over a period of months. As set forth in the Plea Agreement, the parties agreed that a Base Offense

Level of 12 applies, per USSG 2A6.1(a)(1). Plea Agreement at 3. The Plea Agreement then states

that the Government “intends to seek a six-level enhancement pursuant to 2A6.1(b)(1)” because the

offense allegedly involved “conduct evidencing an intent to carry out such threat.” Id. There is no

reference to any additional enhancement that the Government intends to seek. See generally Plea

Agreement. The Plea Agreement specifies, “Depending on the application of 2A6.1(b)(1), the

total offense level will be either 18 or 12.” Id. at 3 (Emphasis added). There is no reference to any

total offense level beyond 18 or 12. After addressing applicable reductions, the Plea Agreement

then goes on to conclude: “In accordance with the above, the Estimated Offense Level will

be either 15 or 10.” Id. Thus, the Plea Agreement lays out two applicable guideline ranges – 6-12

months (if no 6 point enhancement re intent to commit threatened conduct) and 18-24 months (if

this enhancement applies). The Plea Agreement further specifies that “a sentence within the above-

mentioned Estimated Guideline Ranges” would “constitute a reasonable sentence” in light of all

the factors set forth in 18 USC § 3553(a), with the caveat that either party may seek a variance and

suggest that the Court consider a sentence outside these applicable Guideline ranges based upon

factors to be considered in imposing a sentence pursuant to 18 USC § 3553(a). Id. at 5. While the

Plea Agreement reserves the right to allocute for a sentence within the Guideline range ultimately
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determined by the Court, id., there is no provision that contradicts the assertions that a sentence

with a total offense level of 15 or 10 is what is reasonable or that suggests that the Government

intends to seek an enhancement beyond these offense levels.

        The U.S. Probation Office (“Probation”) has determined in its Presentence Investigation

Report (“PSR”) that two 6-point enhancements apply: one on the basis that there is evidence of an

intent to carry out the subject threat, per USSG § 2A6.1(b)(1), and the second on the basis that

Speaker Pelosi is a government official, per USSG § 3A1.2(a)(1). PSR at ¶¶26-27. Defendant,

through undersigned counsel, submitted to Probation detailed objections to both 6-point

enhancements, but Probation continues to maintain that both enhancements are applicable. PSR at

24-27. Per the PSR, these two 6-point enhancements would bring Mr. Meredith advisory Guideline

range to 36-47 months. PSR at ¶103. In its Sentencing Recommendation dated December 8, 2021,

Probation has recommended a sentence of 30 months, a variance from the Guidelines range based on

Defendant’s mental health issues. Sentencing Recommendation at 1. Nonetheless, Mr. Meredith

believes that this recommended sentence is still grossly disproportionate to the offense conduct to

which he has pled guilty.1

         V.      STATUTORY SENTENCING FACTORS

        Per 18 U.S.C. § 3553(a), a sentencing court must “impose a sentence sufficient, but not

greater than necessary, to comply” with the purposes of sentencing set forth in the second

paragraph of the statute. See United States v. Shortt, 485 F.3d 243, 248 (4th Cir. 2007). In

undertaking its analysis, the Court is to give consideration to the advisory sentencing range


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   Despite the fact that Speaker Pelosi's status is hardly new information, and despite the crystal
clear understanding between the parties of the two applicable sentencing ranges, the Government
has now indicated to undersigned counsel that it may allocute for a sentence in this higher range if
the Court finds such a range applies. Defendant believes that such a position by the Government
would constitute a breach of the plea agreement and reserves all rights. See, e.g., US v. Palladino,
347 F.3d 29 (2d. Cir. 2003); US v. Murray, 897 F.3d 298 (D.C. Cir. 2018).

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recommended by the Guidelines and any relevant Guideline policy statements, as well as other

traditional sentencing factors, including (1) the nature and circumstances of the offense; (2) the

history and characteristics of the defendant; (3) the need to impose a sentence that reflects the

seriousness of the offense, promotes respect for the law, provides just punishment and affords

adequate deterrence; (4) a sentence that provides the defendant with needed medical/mental health

care; (5) the kinds of sentences available; (6) the need to provide restitution to any victims; and (7)

the need to avoid unwarranted sentencing disparities between defendants with similar records

convicted of similar conduct. See 18 U.S.C. § 3553(a).

         Nearly twenty years after the Supreme Court’s decision in United States v. Booker, 543

 U.S. 220 (2005), it is now “emphatically clear” that the “Guidelines are guidelines – that is, they

 are truly advisory.” United States v. Cavera, 550 F.3d 180, 189 (2d Cir. 2008) (en banc). The

 Guidelines are no longer “the only consideration” at sentencing. Gall v. United States, 552 U.S.

 38, 49 (2007).     Rather, the Guidelines merely provide a “starting point” for the Court’s

 sentencing considerations. Id.; accord Cunningham v. California, 549 U.S. 270 (2007). While a

 sentencing court must consider the Guidelines as a starting point, a court should not presume

 “that the Guidelines range is reasonable.” Gall, 552 U.S. at 50. Instead, the Court is to impose

 sentence after “mak[ing] an individualized assessment based on the facts presented” in each

 particular case. Id. See also United States v. Adelson, 441 F. Supp. 2d 506, 512 (S.D.N.Y. 2006)

 (describing “the utter travesty of justice that sometimes results from the guidelines’ fetish with

 abstract arithmetic, as well as the harm that guideline calculations can visit on human beings if not

 cabined by common sense.”).

       Per 18 U.S.C. § 3553(a), the Court can take into account the particularized factors of the

 entirety of Mr. Meredith’s life and not just his criminal conduct. This approach is consistent

 with 28 U.S.C. § 991(b)(1)(B) which provides sentencing courts with discretion to “maint[ain]

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 sufficient flexibility to permit individualized sentences when warranted by mitigating or

 aggravating factors not taken into account in the establishment of general sentencing practices.”

 Indeed, the circumstances of this case along with Mr. Meredith’s personal history, exemplify

 why the Supreme Court restored a sentencing court’s discretion “to consider every convicted

 person as an Individual and every case as a unique study in the human failings that sometimes

 mitigate, sometimes magnify, the crime and the punishment to ensue.” Pepper v. United States,

 131 S.Ct. 1229, 1239-40 (2011) (internal quotations and citations omitted).              The factors

 addressed below, both individually and in combination, support that a sentence of time served is

 punishment “sufficient, but not greater than necessary, to accomplish the sentencing goals

 advanced.” Kimbrough v. United States, 552 U.S. 85, 111(2007).

       1. The Nature and Circumstances of the Offense

       While Mr. Meredith has acknowledged that he made the subject threat against Speaker

Pelosi, the circumstances of that threat are significantly mitigating. This additional context is

needed in order to fully understand the nature of the subject text message.

       First, this was a threat communicated in the midst of rapid texting with friends and family,

PSR at ¶¶14-18, persons Mr. Meredith believed he could talk to in rough, familiar, extreme terms.

The instant threat was made specifically when texting with his own uncle. As such, this threat had

none of the markings of a calculated, deliberative communication of intent to inflict harm. To the

contrary, as explained in the Statement of Facts in support of the Arrest Warrant, the relevant text

messages include statements by Mr. Meredith that suggest that he was joking (“Lol, jus havin fun”);

that the FBI was aware of him and monitoring his activities; and that he was not to be taken

seriously in relation to his statements (“My Spy name is: DoubleODipshit”). Statement of Facts in

Support of Arrest Warrant at 1. Indeed, Mr. Meredith did not attempt to any degree to deliver the

threat personally to Speaker Pelosi in order to induce fear or post the threat online to publicly instill

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alarm.

         Second, the nature of current political discourse has led to rampant use of inflammatory

rhetoric. Hyperbolic speech that crosses the line into threats is, unfortunately, commonplace,

particularly on social media. Examples of such rhetoric across the political spectrum abound, from

comedian Kathy Gifford doing a mock beheading of then-President Trump to Johnny Depp asking

“When was the last time an actor assassinated a president?” to conservative websites that employ

violent rhetoric to demonize political opponents.        See, e.g., Violent Rhetoric Grew More

Mainstream       in    Conservative,     Intellectual    Circles,   NPR,      (Jan.    28,    2021)

https://www.npr.org/2021/01/28/961470082/violent-rhethoric-grew-more-mainstream-in-

conservative-intellectual-circles. The appetite for insulting and even threatening content that has

emerged over the past few years certainly has blurred the bounds of decency, much less of law, in

regards to political speech. This reality does not excuse Mr. Meredith conduct, but it does help

explain its genesis.

         Third, the very nature of texting and social media promotes rapid, reflexive, unthinking,

extreme speech. As explained in a recent law review article, the “informality of much social media

speech makes it more akin to chitchat rather than written communication, and this feature leads

speakers to post things that they would never contemplate putting in writing in other contexts.”

Lidsky, L, #I U: Considering the Context of Online Threats, 106 California Law Review 1885,

1903 (2018). Moreover, the “informal, spontaneous, often anonymous, and unmediated discourse

common in social media magnifies the potential for incendiary language,” and “speakers respond to

provocations before good sense can assert itself.” Id.

         Fourth, Mr. Meredith was clearly “hyped up” by the events of at the U.S. Capitol on January

6, 2021 when he sent the subject text. We all watched in disbelief as the U.S. Capitol was breached

and the nation later struggled to grapple with what had occurred. For Mr. Meredith, these events

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were a rousing vindication of his belief that the election had been “stolen.” Regardless of how one

might see his views, there is no question that he was in a highly emotional state when he sent the

instant text message.



                                                  – again, not an excuse, but important context in

assessing his threatening statement. Exh. 2, Report by S. Xenakis, MD at 8. Indeed, the FBI

recovered                                                                   when Mr. Meredith was

arrested. In addition, he had recently suffered the concussion from the motorcycle accident which,

per Dr. Xenakis, may have impaired his judgment and ability to exercise restraint in his speech.

Exh. 2, Report by S. Xenakis, MD at 10.

               a. A 6-point Enhancement per USSG § 2A6.1(b)(1) is Unwarranted

       The 6-level enhancement per USSG § 2A6.1(b)(1) for conduct evidencing an intent to carry

out such threat is unwarranted. See PSR at ¶[26. First, Mr. Meredith’s text message did not evince

the deliberation that court's have found to indicate intent. See, e.g, United States v. Harris, 763 F.

Supp. 546, 549 (M.D. Ala. 1991) (“A brief examination of these letters reveals that Harris's death

threats were pointed and unambiguous, and, indeed, grew more heated and enraged with the

passage of time”); United States v. Taylor, 88 F.3d 938, 943 (11th Cir. 1996) (affirming six-level

enhancement where many of the defendant's letters described "the [victims’] activities in a detail

that seemed to indicate first-hand observation”). Rather, Mr. Meredith's text stated, without detail

and sandwiched between explicitly joking commentary, that he was “thinking about” heading over

to Pelosi’s speech and putting a “bullet in her noggin.”

       Second, Mr. Meredith took no actions that would evidence such intent – he did not, for

example, Google Speaker Pelosi’s whereabouts ahead of time, contact her office to determine her

schedule during the relevant time period or scope out the environs of the U.S. Capitol for access to

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commit such an act. Indeed, Mr. Meredith is “all talk,” as he freely admits (referring to himself as

“DoubleODipshit”) and that is exactly what he has acknowledged by pleading guilty to this threat –

that his words, not his actions, crossed the line. Moreover, his contemporaneous texts, referenced

above, conveying that he was “just kidding,” directly counter any argument that he intended to

carry out this threat. Statement of Facts in Support of Arrest Warrant at 1. Finally, the fact that he

had weapons in his trailer when arrested is not determinative of intent.            United States v.

Philibert, 947 F.2d 1467, 1471 (11th Cir.1991). These are weapons that he had legally acquired

and that he had taken with him to Colorado for a separate and legitimate purpose: to have

something to do with his sons in the event there was no snow for skiing. There is no evidence that

he purchased or acquired these weapons close in time to his issuance of the threat – a factor some

courts have found to be persuasive on the issue of intent to carry out a threat. See, e.g., United

States v. Kirsh, 54 F.3d 1062, 1073 (2d Cir. 1995) (affirming finding that “defendants' purchasing

of firearms and inquiring about ammunition during the period in which they were sending letters

threatening to shoot sufficiently evinced an intent to carry out their threats.”) And, as noted, Mr.

Meredith had texted his former wife that he was going to drive home the next day, yet further

indication that he had no intention of carrying through on his threat. Exh. 3, Text Message

Exchanges from C. Meredith, Jr.

               b. A 6-point Enhancement per USSG § 3A1.2(a)(1) is Unwarranted

       The 6-level enhancement per USSG § 3A1.2(a)(1) because the victim was a government

officer is unwarranted.    See PSR at ¶27.      First, the Government itself failed to apply this

enhancement to Mr. Meredith’s threat. Notably, the Government did not charge Mr. Meredith with

Section 115(a)(1)(B), the criminal provision that specifically relates to threats against public

officials. Second, courts have made it clear that the “official-victim enhancement ‘is designed to

protect government officers in the performance of their duties.’” See United States v. Davila-

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Bonilla, 968 F.3d 1, 10-11 (1st Cir. 2020) (citing United States v. Watts, 798 F.3d 650, 655 (7th Cir.

2015)(Posner, J.)). As such, Section 115(a)(1)(B) and § 3A1.2(a)(1) most commonly apply to

defendants whose threats actually reach or at least were reasonably calculated to reach the official

victim and had the potential, therefore, to impact the performance of their duties. That simply did

not occur in this case. There is no evidence that Mr. Meredith’s threat caused any disruption of any

governmental function – in fact, there is no evidence that his threat was ever even communicated to

Speaker Pelosi. PSR at ¶21.

       2. The History and Characteristics of the Defendant

       There is no question that the history and characteristics of Mr. Meredith support a sentence

 of time-served. First, Mr. Meredith has had a life of great promise and accomplishment. He has

 been a dutiful father. He has recognized his need for mental health care and sought it in the past.

 He has shown ambition and success in his business endeavors. But perhaps most importantly, he

 has shown determination and resilience in recovering from past challenges and failures, a

 determination he can now put to use in repairing his shattered life. Mr. Meredith should be given

 a chance to repair his situation and return to the man he once was.

       Second, despite the very challenging circumstances of his confinement, made all the more

 difficult by severe pandemic restrictions, Mr. Meredith has been able to make the best of this

 situation – a further testament to his resilience and demonstrated aptitude for rehabilitation. The

 enclosed Work Performance Rating – Inmate Form from the DC Department of Corrections rates

 Mr. Meredith as “Excellent” in all categories, including “Initiative” and “Response to

 Supervision” and notes: “Cleveland has been on detailed assignment longest in the unit.

 Cleveland definitely has no behavioral or security concerns.”         Exh. 4, DC Department of

 Corrections Work Performance Rating – Inmate. Sergeant Shawn Franklin, C Building Zone

 Supervisor at the Correctional Treatment Facility, asserts the following about Mr. Meredith:

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       Inmate Cleveland Meredith DCDC 376-201 has been housed in the housing unit
       C2B since entering the Correctional Treatment Facility. Inmate Cleveland,
       Meredith has been an outstanding contribution to CB2 since being assigned to the
       housing unit and the detail squad. His natural leadership ability has been steadfast
       and unwavering. Inmate Cleveland gives 100% effort in every assignment that is
       given to him. Since entering the Correctional Treatment Facility Cleveland hasn’t
       had any adverse action or any Disciplinary Reports for negative institutional
       behavior, in fact Inmate Cleveland consistently shows positive institutional
       behavior with all staff and the entire inmate population assigned to the housing
       unit CB2. Inmate Cleveland is a mentor that is used daily by uniform and non-
       uniform staff assigned to the housing unit. Inmate Cleveland has been many
       assignments with little to no supervision. Inmate Cleveland is a morale booster,
       counselor amongst the Inmate Population assigned to the housing unit C2B, his
       ability to quarrel disputes between others inmate’s is outstanding. I recommend
       that Inmate Cleveland be given the next position based off of his excellent work
       ethic and his ability to continue to display his positive institutional behavior.

Exh. 5. Ltr. from Sgt. Franklin (emphasis in original).

       A letter from a fellow inmate, Robert Moss, explains that Mr. Meredith has provided much

 needed moral support within the CTF unit:

       Cleveland Meredith was the first person to take me under his wing and uplift my
       spirits. As I entered CB2, he could probably tell my attitude was at an all time
       low. Due to Cleveland’s selfless character, he didn’t hesitate to provide words of
       encouragement to myself or the two other individuals I arrived with. As my two
       month mark is approaching of being a resident of C2B, I have observed that not
       only is Cleveland a hard working, attention to detail kind of employee, he is also
       the moral Rock of this cell block. Cleveland insistently goes out of his way to
       ensure that everyone in this cell block is ok! He is willing to go out of his way to
       build others up with his kind encouragement. He is also willing to make himself
       the butt of the joke for the sake of someone else’s happiness. Cleveland is a
       selfless individual who will not only make sure you get your commissary or your
       tablet or the surfaces are clean/sanitized, he is also the one who will ensure that
       your morale is better after a visitation with him than when he first approached you
       with a smile[.] Cleveland is a good man. Thank you for your time. – Robert A.
       Moss

Exh. 6, Ltr. from R. Moss.

       Third, at age 53, and with the responsibility of being a father on his shoulders, Mr.

 Meredith has every incentive to abide strictly by whatever terms and conditions of supervised

 release this Court imposes. Exh. 2, Report by S. Xenakis, MD at 9 (noting importance of being a

 father to his sons as incentive to Mr. Meredith to abide by terms of supervised release). And Mr.
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Meredith has the stalwart support of his family to ensure that he stays true to the path he must

now follow.

       Fourth, while Mr. Meredith has mental health challenges that he must confront, he is

competent, intelligent and clear-eyed in knowing what he must do – he is not the “deranged and

dangerous” person depicted by the Government. Government Memorandum in Support of

Pretrial Detention at 9. Indeed, Dr. Xenakis believes that Mr. Meredith, with the stabilizing

effect of comprehensive mental health care and appropriate medications, will be able to repair his

life without posing a threat to himself or others or without repeating the conduct that placed him

into his current predicament. The key, as Dr. Xenakis has opined, is that Mr. Meredith disengage

from the corrosive online and political influences that caused him to commit the instant threat,

focusing instead on the hard work of making up for the lost time with his sons and family and of

building the new business venture that he already has started. Exh. 2, Report by S. Xenakis, MD

at 9, 11.

      Fifth, those who know Mr. Meredith best have attested to his good character, to the man he

was, and is, capable of being. His father is gravely ill and cannot travel to attend the sentencing

but has provided a letter to the Court that aptly summarizes his view of his son:

      Cleve’s mother and I find it difficult to believe that we are sitting here in your
      court room taking part in a sentencing hearing for our son, Cleveland Grover
      Meredith, Jr. Cleve is proud to be an American! He is a passionate American! He
      was at a very vulnerable time in his life when he was drawn into the rhetoric and
      the lies of conspiracy theorist groups. The impact these groups had on Cleve
      changed him from an incredibly kind man, an empathetic man, an energetic and
      athletic man and especially the moral man who held and exhibited the highest of
      values for all mankind. He’s the guy always pulling for the underdog, the less
      fortunate. There are too many examples of his kindness and compassion for others
      to share … This is the boy/man we know. To this day he will stop to help a
      stranded citizen.

                                            *
                                            *
                                            *

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       He is the son, the brother, the grandson, the nephew, the uncle, the cousin, who
       we could always count to fill the room with laughter and joy. He is well loved.
       We all want him to be well.

       He is an adoring father to his boys and he has shown great remorse and regret
       how his actions have impacted them. These two incredible young men need their
       father in their lives.

       Your Honor, speaking as one parent to another, I beg you to consider an alternate
       situation other than incarceration for our son. We wholeheartedly trust that Cleve
       will make the appropriate reparations if he is granted the opportunity to receive
       mental health counseling and treatment for the underlying issues that have
       impacted his mental health.

Exh. 7, Ltr from C.G. Meredith, Sr.

       Mr. Meredith’s sons, Taft and Teddy, speak in their letters to the father they need back in

 their lives. Exh. 8, Ltrs from Taft and Teddy Meredith. Mr. Meredith’s aunt, uncle and sister

 also attest to his good character and potential for rehabilitation. Exh. 9, Ltrs from D. Smith, D.

 Wilson and A. Schneider. Wendy Meredith, Mr. Meredith’s mother, and various friends of Mr.

 Meredith plan to address the Court directly at sentencing. Each of them knows that “Cleve” has

 lost his way but can find his way back, and each stands ready to provide whatever support to him

 may be needed.

       Lastly, Mr. Meredith deeply regrets his actions, the disruption and fear his words had the

 potential of creating with Speaker Pelosi and the harm and embarrassment his conduct has

 caused his family and those who have believed in him.

       3. A Sentence that Reflects the Seriousness of the Offense

       There is also no question that a sentence of time-served would reflect the seriousness of

 this offense and provide just punishment. 18 U.S.C. § 3553(a)(2)(A). If sentenced to time-

 served, Mr. Meredith would end up serving close to a year in jail for sending a threat contained

 in a text to a family member. This is not, in other words, a situation where Mr. Meredith

 attempted to spur rampant fear or alarm by posting his threat in ominous language in a public

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 posting or in a communication directly with an official, a situation that might call for a higher

 sentence. Nor is this a situation where Mr. Meredith caused substantial disruption of already

 overburdened law enforcement resources. Rather, he made a stupid, ugly, extremely vulgar

 threat via a text to a family member. A year in jail for such an offense is certainly sufficient to

 communicate just how seriously threats of any kind are taken by the judicial system.

       A sentence of time-served would also no doubt serve to deter Mr. Meredith from engaging

 in repeat conduct. No doubt, it has been especially arduous for this 53-year-old first-time

 offender to be held for over 11 months in the undeniably tough conditions of CTF in the midst of

 the additional confinement restrictions arising from the pandemic. Mr. Meredith has come to

 fully appreciate, through this stark and dangerous experience, the consequences of his actions

 and the implications of any repeat conduct. As he can attest at the sentencing hearing, there is

 no way he would risk a repeat of what he has had to endure over the past year of incarceration,

 much less losing more time with his boys before they head off from home into the world.

 Moreover, supervised release would entail a strict regimen of, for example, reporting to a

 probation officer, submitting monthly financial reports and mandatory drug testing, which would

 reduce the risk of re-offending. Furthermore, others would understand from such a sentence the

 potentially dire consequences of any form of threat, no matter how and under what circumstance

 communicated, thereby promoting wider respect for the law and encouraging deterrence.

       4. A Sentence that Provides the Defendant with Needed Medical Care

       Section 3553(a) recognizes that the Court should take into account any medical issues

facing the defendant and whether the sentence imposed will “provide the defendant . . . with needed

medical care . . . in the most effective manner.” 18 U.S.C. § 3553(a)(2)(D). Indeed, the Court

during the pretrial detention proceeding indicated sensitivity to Mr. Meredith’s mental health

issues: “I couldn’t agree with the defense counsel more, that there needs to be some significant

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overarching therapeutic regimen that covers the psychological issues he’s been dealing with for a

long time. Not only the PTSD, the loss of his sister, the divorce, the disassociation with a group

that has had a negative influence on him. There’s a lot to discuss.” Transcript of Arraignment on

March 26, 2021 at 59. Mr. Meredith is committed to getting the help he needs.

        As noted, the defense has retained Stephen Xenakis, M.D. to assess Mr. Meredith’s

 mental health issues and opine on whether there are treatment modalities that would address

 these issues and ensure that Mr. Meredith does not re-offend or pose a danger to himself or

 others in the future. Dr. Xenakis is ideally suited to conduct such an assessment – he is a retired

 Brigadier General in the U.S. Army with decades of experience addressing the most challenging

 and severe of mental health issues afflicting combat soldiers and others, like Mr. Meredith,

 afflicted with issues arising from, or related to, PTSD. Dr. Xenakis thus understands how to

 tackle extreme ideological views with disengagement strategies; how to structure comprehensive

 treatment and medication management modalities; how to carefully monitor progress under such

 modalities to ensure compliance. Exh. 2, Report by S. Xenakis, MD (attaching CV).

        In his report, Dr. Xenakis opines, inter alia, (1) that Mr. Meredith was profoundly

 affected by the death of his younger sister; (2) that his involvement with QAnon coincides with

 the period in his life when he was struggling with the effects of a failed marriage and business;

 (3) that, while reactive to feeling threatened, he has not shown a history of intentional violence or

 any deliberative attempt to inflict harm on other; (4) that his prior incidents of reactive outburst

 can be correlated to his use of                                                                  (5)

 that he has not, to date, received an appropriate comprehensive neurological assessment of his

 troubling mental health conditions; and (6) that he has shown a clear willingness to engage in a

 mental health treatment program upon release. Exh. 2, Report by S. Xenakis, MD. Dr. Xenakis

 summarizes his findings as follows:

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       In short, I believe, to a reasonable degree of medical certainty, that Mr. Meredith
       has significant underlying mental health, medication and concussion related issues
       that contributed to the events at issue; that there is no indication, based on my
       experience, that he intended to carry out any of his hyperbolic, threatening
       statements; that he has the capability and willingness to participate in an appropriate
       course of treatment to achieve disengagement and avoid further aggressive
       behavior; that he will not be a danger to himself or others if an appropriate
       treatment modality per above is pursued; and that he is capable, if he complies with
       such conditions, of returning to be the father, family member and contributing
       member of society that he once was.

Exh. 2, Report by S. Xenakis, MD at 13.

       Significantly, Dr. Xenakis finds that Mr. Meredith has never been provided the kind of

 comprehensive mental health assessments and treatments that he has so desperately needed and,

 to make matters worse, has been using medications that are not simply contra-indicated but, in

 fact, conducive to the sort of uncontrolled and ill-considered conduct at issue.          Id. at 8.

 Accordingly, Dr. Xenakis has developed a comprehensive, highly structured, multi-prong mental

 health treatment plan for Mr. Meredith which will help ensure that he does not engage in similar

 conduct again. Id. at 10-13. In doing so, Dr. Xenakis has identified and conferred with top-

 notch mental health care professionals in the Atlanta area who are willing to provide to Mr.

 Meredith the various forms of treatment needed to address his



          Id. These include Dr. Galen Cole, who previously treated Mr. Meredith, and Dr. David

 Cantor of Atlanta who would coordinate testing and evaluations

                            arrange for neuropsychiatric assessment for prescriptions of

 medications and/or treatment                                and provide counseling and cognitive

 behavior therapy to support disengagement from extremist activity. Id. at 11. Clearly, additional

 imprisonment is not needed in order to provide this necessary mental health care, as Mr. Meredith

 can arrange care from these mental health professionals, at his own expense, outside the federal

 prison system. See, e.g., United States v. Alatsas, 2008 WL 238559 (E.D.N.Y. Jan. 16, 2008)
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 (imposing a term of probation, despite Guidelines range of 24-30 months where, inter alia,

 “[d]efendant has multiple complex medical problems, which will be better cared for outside of

 prison.”).

        In addition, there is statistically decreased risk of recidivism in this case given Mr.

 Meredith’s age. See, e.g., United States v. Smith, 275 F. App’x 184, 187 (4th Cir. 2008)

 (affirming 54 months downward variance in part because of low risk of recidivism). Statistical

 data from a study commissioned by the United States Sentencing Commission show that

 “[r]ecidivism rates decline relatively consistently as age increases.” U.S.S.C., Measuring

 Recidivism: The Criminal History Computation of the Federal Sentencing Guidelines, at 12.38

 The study indicates that a defendant over the age of 50 in criminal history category I, like Mr.

 Meredith, has only a 6.2 percent likelihood of recidivating. Id. at Ex. 9.39

       5. The Need to Avoid Unwarranted Disparities

       A critical sentencing factor in this case is the need to avoid disparities with the sentences

imposed in similar cases. 18 U.S.C. § 3553(a)(6). The types of sentences imposed in threats cases

in the District and beyond are thus instructive and appropriately considered by the Court. See,

e.g., United States v. Doan, 498 F. Supp. 2d 816, 820 (E.D.Va. 2007) (“This Court does not

dispute the value in looking nationwide to similarly situated criminal defendants of similar

culpability that have committed similar acts resulting in similar convictions with similar

backgrounds and with similar records under similar circumstances.”). As set forth below, the

sentences imposed in decidedly more egregious matters involving threats have been in the range

of probation to 19 months of incarceration:

   •   United States v. Troy Smocks, 21-CR-198 (D.C.D.): The defendant in this matter
       traveled to Washington D.C. on January 5, 2021 and, on the morning of the Capitol
       Riots, he posted a message on social media “containing a threat to injure law
       enforcement officers” that reached “tens of thousands of users” from an account that
       falsely purported to identify the defendant as a retired military officer. ECF No. 59,
       Government’s Sentencing Memorandum, 1–2 (emphasis added). The message
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    threatened that “millions” would “return on January 19, 2021, carrying Our
    weapons[.]” Id. at 2. After the Capitol Riot, the defendant sent “another
    threatening message on the social media service” that was “again viewed by tens of
    thousands of other users,” threatening to “hunt down” and murder “RINOS, Dems,
    and Tech Execs” “over the next 24 hours.” Id. at 3. According to the government,
    “defendant has a lengthy criminal history, with approximately 18 prior criminal
    convictions spanning from the early 1980s to 2006.” Id. at 6.
    The defendant pled guilty to one count of transmitting threats to injure, § 875(a). Id.
    at 1. The government agreed that the defendant was subject to base offense level 12,
    with no enhancements, and that he was subject to a guideline range of 8 to 14 months
    or 10 to 16 months depending on his criminal history category. Id. at 4. The
    government took the position that “a term of imprisonment at the low end of the
    Sentencing Guidelines range,” either 8 months or 10 months, was sufficient. Id. The
    defendant was ultimately sentenced to 14 months of imprisonment and 3 years of
    supervised release. Minute Entry dated October 21, 2021.
•   United States v. Dawn Bancroft, 21-cr-00271-EGS-1 (D.D.C.): The defendant in this
    matter participated in the U.S. Capitol Riot on January 6, 2021 and entered the
    building through a window. See Complaint, ECF No. 1. Upon exiting, the defendant
    filmed a video in which she stated, “We broke into the Capitol…we got inside, we
    did our part.’ BANCROFT continued, ‘We were looking for Nancy to shoot her in the
    friggin’ brain but we didn’t find her.’ [The complaint] affiant believe[d] that the
    ‘Nancy’ BANCROFT was referencing is Speaker of the House, Nancy Pelosi.”
    Despite having threatened to kill Speaker Nancy Pelosi while standing on the very
    steps of the U.S. Capitol, the defendant was never charged with threatening to harm a
    federal official. Instead, she was permitted to plead guilty to unlawfully Parading,
    Demonstrating, or Picketing in a Capitol Building, 40 U.S.C. § 5104(e)(2)(G), a
    misdemeanor that carries a maximum sentence of six months in prison. She is
    currently out on bond and scheduled for sentencing in February 2022.
•   United States v. Lucio Celli, 19-CR-127 (E.D.N.Y.): The defendant in this matter sent
    multiple emails to the Honorable Chief Judge Margo K. Brodie, the Honorable Brian
    M. Cogan, and the late Honorable Robert A. Katzmann, threatening to kill them. ECF
    No. 175, Government’s Sentencing Memorandum, 1–2. He was arrested after
    sending at least four more emails to Judges Brodie and Cogan and other individuals
    “promising” and threatening to “hunt down and kill” them. Id. at 2.
    The defendant pled guilty to one count of transmitting threats to injure, 18 U.S.C. §
    875(c), after years of changing lawyers and the filing of pretrial motions. Id. at 1.
    Although the Guidelines recommended a sentence of 24 to 30 months, the
    government agreed that a sentence of time served (4.5 months of incarceration) and
    two years of supervised release was appropriate. Id. at 3–4. The defendant was
    sentenced consistent with the government’s recommended sentence. ECF No. 178.
•   United States v. Niviane Petit Phelps, 1:21-cr-20240-JEM (S.D.F.L.): Per the
    Government’s Factual Proffer, the defendant in this matter sent six videos to her
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    imprisoned husband through the application JPay. On February 13, 2021, the
    defendant recorded two 30-second videos depicting herself threatening to kill Vice
    President Kamala Harris. In the first of these videos, the defendant said, “Kamala,
    you are going to die. Your days are numbered already. Someone paid me $53,000 just
    to fuck you up.” In the second video, the defendant stated, “Kamala Harris put a dime
    on me. I put a dime back on her. $53,000 that’s your fucking number. It’s on your
    fucking head bitch.” The next day, on February 14, 2021, the defendant filmed two
    additional videos.
    On February 18, 2021, the defendant recorded two more videos threatening to kill
    Vice President Harris. In the first, she stated: “50 days from today you will die…
    Vice President Kamala Harris you will fucking die 50 days from today… 53,000. I’m
    the hit man.” In the second, she stated: “and fucking Kamala Harris I swear to god,
    today is your day, you gonna die. 50 days from today, mark this day down, you stupid
    bitch, Kamala fucking Harris vice president, you gonna fucking die 50 days from
    today.” Two days later, on February 20, 2021, the defendant sent a photo of herself
    holding a firearm at a gun range. On February 22, 2021, the defendant applied for a
    concealed weapon permit. On March 6, 2021, the defendant admitted having
    knowledge that someone else could potentially see her videos, but stated that she did
    not care. She also stated that she does not know what would have happened if law
    enforcement had not shown up.
    The defendant pled guilty to six counts of threats against the vice president, 18 U.S.C.
    § 871. The defendant was ultimately sentenced to 12 months and one day of
    imprisonment, followed by three years of supervised release. Minute entry dated
    November 23, 2021.
•   United States v. Brendan Hunt, 1:21-cr-00086-PKC (E.D.N.Y.): Per the
    Government’s Sentencing Memoranda, the defendant in this matter recorded and
    uploaded an 88-second video on January 8, 2021, titled “Kill Your Senators,” in
    which he stated the following:
           [W]e need to go back to the U.S. Capitol when all of the Senators and a
           lot of the Representatives are back there and this time we have to show
           up with our guns and we need to slaughter these motherfuckers. What
           I’m saying is that our government at this point is basically a handful of
           traitors, so what you need to do is take up arms, get to DC probably the
           inauguration . . . that’s probably the best time to do this, get your guns,
           show up to D.C., and literally just spray these motherfuckers. Like, you
           know, that’s the only option. They’re gonna kill us. So we have to kill
           them first. So get your guns. Show up to D.C.; put some bullets in their
           fucking heads. If anybody has a gun, give me it, I will go there myself
           and shoot them and kill them. We have to take out these Senators and
           then replace them with actual patriots. Basically, I would trust anybody
           over them at this point uh this is a ZOG [Zionist occupied] government.


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    Later that day, he posted a message on Parler stating “… enough with the ‘trust the
    plan’ bullshit. lets go, jan 20, bring your guns . . .” Prior to this, on November 27,
    2020, the defendant posted a message to Facebook stating, “Like ive been saying all
    along, biden will NEVER set foot in the white house. we will mow down any
    commies who try to run a coup on america! MAGA!” He posted an additional video
    to Facebook on December 6, 2020.
    The defendant was convicted by a jury of one count of threatening to murder
    members of Congress in violation of 18 U. S. C. § 115(a)(l)(B) and §115(b)(4). The
    defendant was ultimately sentenced to 19 months of imprisonment, followed by three
    years of supervised release. Minute entry dated November 22, 2021. The defendant
    was subject to a special assessment fee of $100 but no fine.
•   United States v. James Dale Reed, No. 20-CR-406 (D. Maryland): The defendant in
    this matter delivered letters to homes with Democrat signs that included graphic
    death threats against U.S. President Joe Biden and Vice President Kamala Harris
    when they were candidates during the 2020 campaign. ECF No. 35, Government’s
    Sentencing Memorandum, 2. The letters also threatened to murder any “Biden/Harris
    supporter[s]” and their children in their homes. Id. The defendant was known to the
    U.S. Secret Service for having emailed a nonprofit organization several times in 2014
    with death threats against then-President Obama, Michelle Obama, former New York
    Governor Andrew Cuomo, and former New York City Mayor Michael Bloomberg.
    Id.at 5. Around the time he made the threats, the defendant traveled to Gettysburg, PA
    on the same day as then-candidate Biden. Id. at 3. During a search of the defendant’s
    home, the defendant’s “M4, 9mm S&W pistol, Highpoint 9mm rifle, and 12-gauge
    shotgun were seized along with eight canisters of ammunition for these weapons.”
    Id. at 4. The defendant was also in possession of grenades, military gear, “a
    highlighted list of attendees at a conference about 10 years ago (many of whom
    are/were U.S. government protectees), and a hand-drawn map of Frederick Police
    Department Special Response Team tactical responses.” The government believed his
    possession of these items “show[ed] an ability to carry through on his threaten [sic]
    behavior.” Id.
    The defendant pled guilty to making a Threat to a Major Candidate for the Office of
    the President or Vice-President, 18 U.S.C. § 879. The government recommended “[a]
    sentence of eighteen months followed by a three-year term of supervised release.”
    Id. at 5. The defendant w a s ultimately sentenced to 7 months in prison and three
    years of supervised release. ECF No. 37. The sentence was consecutive to four
    months the defendant served in state custody for the same conduct.
•   United States v. Brogan, No. 19-CR-00207-NGG (E.D.N.Y.): The defendant in this
    matter called the office of a sitting United States Senator and left a lengthy voicemail
    calling her a “stupid bitch” and repeatedly stating that he would “put a bullet in [her]”
    and “light her up with [] bullets” because of her views on abortion. ECF No. 21,
    Government’s Sentencing Memorandum, 1–2. “The voice message also ma[de]
    explicit reference to Defendant Brogan’s potential travel to Washington, D.C., a fact
    that is made more alarming by a past social media post discussing a previous” trip to
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    the nation’s capitol and, as discussed above, a potential future trip to Washington,
    D.C. the next month.” Id. at 4. The government’s investigation confirmed that he
    had recently traveled to Washington D.C. twice. Id. at 2. The defendant’s criminal
    history included at least five arrests and two convictions, including one where he
    traveled to a woman’s home after a traffic accident, tried to extort her, and then
    assaulted her husband. Id. at 4–5.
    The defendant pled guilty to one count of threatening to murder a federal official, §
    115(a)(1)(B) and the government recommended a sentence of 6 to 12 month’s
    imprisonment. Id. at 3. The defendant was ultimately sentenced to three years of
    probation. ECF No. 27, Judgment.
•   United States v. Kao Xiong, 18-CR-00235 (E.D. Ca.): The defendant in this
    matter “ mailed over 150 threats and/or hoax letters targeting the United States
    President (POTUS), a Federal Law Enforcement Officer (FLEO), family of POTUS
    and a FLEO, FBI Offices, State Agencies, private businesses and civilians since
    January 2017. The hoax/threat letters included death threats, bomb threats,
    assassination, extortion demands, and white powder.” ECF No. 1, Complaint. Many
    of the letters reached their intended recipients, and caused serious disruptions to the
    White House, airports, companies, law enforcement. Id. “Each of the letters sent to a
    former POTUS required substantial law enforcement resources to properly assess,
    document, and preserve the evidence.” Id. The defendant continued sending
    threatening communications after being interviewed by the U.S. Secret Service and
    being asked to stop.
    The defendant pled guilty to Conveying False Information Concerning Use of an
    Explosive, 18 U.S.C. § 844(e). ECF No. 46, Plea Agreement. The government agreed
    he was subject to a total offense level of 12, id., which resulted in a guideline range of
    10 to 16 months. The government “recommend[ed] that the Court sentence defendant
    to a sentence at the low-end of the guideline range” and “that the Court impose a split
    sentence as permitted by U.S.S.G. § 5C1.1(d)(2), allowing the defendant to serve part
    of his sentence on home detention.” ECF No. 50, Government Response to
    Presentence Report. The defendant was ultimately sentenced to time served (five
    months) and five months on home detention, followed by three years of supervised
    release.
•   United States v. Partick Carlineo, No. 19-CR-6140 (W.D.N.Y.): The defendant in
    this matter contacted the office of Congresswoman Ilhan Omar and “[d]uring the
    ensuing conversation with a staff member, the defendant asked if the staff member
    worked for the Muslim Brotherhood, called Congresswoman Omar ‘a fucking
    terrorist,’ and threatened to ‘put a bullet in her fucking skull.’” ECF No. 44,
    Government Sentencing Memorandum, 1–2. When the FBI went to his home, the
    defendant—a convicted felon—admitted he “illegally possessed six firearms and
    hundreds of rounds of ammunition.” Id. at 7.

    The defendant pled guilty to one count of threatening to murder a federal official, §
    115(a)(1)(B). In its sentencing submission, the government noted that “it is troubling
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       that the defendant—who, in addition to this case, has other criminal convictions
       involving threatening and/or harassing behavior []—possessed a cache of firearms
       and ammunition.” Id. The government nevertheless recommended a sentence within
       the advisory guideline range of 12 to 18 months. Id. at 3. The defendant was
       ultimately sentenced to a year and a day and 3 years of supervised release. ECF No.
       70.

       In view of these sentences in similar cases, sentencing Mr. Meredith to a period of

incarceration beyond time served would create an unwarranted disparity in the sentencing treatment

of other defendants in threats cases. See 18 U.S.C. § 3553(a)(6). This factor alone weighs heavily

in favor of a sentence of time served for Mr. Meredith.

       6. The Need to Provide Restitution to Any Victims of the Offense

        Per the Plea Agreement, the Government did not indicate an intent to request that a fine

 be imposed. See Plea Agreement at 4. Probation has calculated that Mr. Meredith is subject to

 the various potential ranges of fines under the Guidelines. PSR at ¶102. In any case, a fine, on

 top of any period of incarceration, is unwarranted for several reasons.

        First, there is no need to pay any restitution to the putative victim of this threat, Speaker

 Pelosi, as there is no evidence that Speaker Pelosi suffered any economic or other impact from

 Mr. Meredith’s conduct. In fact, there is no evidence that Speaker Pelosi was even made aware

 of his threat during the relevant period, much less that she or the Government took steps that had

 an economic impact in response to same. PSR at ¶21. In short, there was no tangible impact

 from Mr. Meredith’s conduct that would provide the basis for restitution via a fine.

        Second, while Mr. Meredith has personal savings, he nonetheless would stand in a

 precarious position economically upon release as he will need to struggle to rebuild his life and

 provide adequate financial support to his two boys. PSR at ¶¶85-98. Mr. Meredith will have no

 job to return to, no source of income on the horizon. And he will find it extremely difficult to

 find appropriate employment, given the fact of his felony conviction in this matter and the

 extensive negative attention his case has received in the media – Googling his name results in
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 hundreds of articles, many quoting the Government’s early (and irresponsible) assertion that Mr.

 Meredith is “dangerous and deranged.”          Government Memorandum in Support of Pretrial

 Detention at 9. Moreover, when arrested, Mr. Meredith was in the process of transforming his

 property in North Carolina into a venue for a motorcycle training and touring business, a

 substantial undertaking that will require about $200,000 in additional personal investments by

 Mr. Meredith to get the business up and running. PSR at ¶76. Imposing a fine would simply

 cripple his already tenuous ability to get his life back in order, as well as his ability to provide for

 his children, both on the brink of attending university.

       7. The Kinds of Sentences Available

       There is no mandatory minimum sentence for this offense, so all sentences are available,

including a sentence of time-served, followed by a significant period of supervised release. See 18

U.S.C. § 875. Moreover, the Court has the authority and discretion to impose a wide range of

alternatives to the term of incarceration contemplated by the Guidelines, including home detention

with electronic monitoring. See 18 U.S.C. §§ 3553(a)(3) and 3561(a)(1). The Court may also

impose strict conditions of supervised release, to include stringent mental health treatment

requirements, as well as a strict regimen of reporting to a probation officer, submitting monthly

financial reports and mandatory drug testing. Furthermore, Mr. Meredith would have to relinquish

his weapons and report any change in his residence or employment, all of which would

significantly decrease the likelihood of recidivism.

        VI.     CONCLUSION

        Mr. Meredith stands ready to seize back his life – for his boys who need their father; for

 his own father, who is in precarious health; for his family members who continue to support him;

 for his friends who know the good he is capable of; and, perhaps most of all, for his own sense of

 self worth. Mr. Meredith’s clear need for mental health treatment, together with his age and

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 vulnerability to abuse if further confined, weigh strongly in favor of a sentence of time-served

 with stringent release conditions, a sentence that also appropriately reflects the nature of the

 instant offense, constitutes just punishment, fits the seriousness of the crime and avoids

 unwarranted disparities.

           For all of the foregoing reasons, Defendant Meredith requests that the Court impose a

 sentence of time served followed by three years of supervised probation with terms and

 conditions that will help ensure that he is under appropriate mental health care and will not re-

 offend.

                                                     Respectfully submitted,

                                                     KIYONAGA & SOLTIS, P.C.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of December, 2021, a true and correct copy of the
foregoing Redacted Version of Defendant Meredith’s Memorandum in Aid of Sentencing was
served via the ECF system on the on the following attorneys for the Government:

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                                                        /s/ Paul Y. Kiyonaga
                                                        ________________________
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